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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

 IN RE: AT&T, INC. CUSTOMER DATA                      MDL No. 3114
 SECURITY BREACH LITIGATION



            INTERESTED PARTIES JEFFREY CUMO AND TIARA ALSTON

                                    NOTICE OF ERRATA

       Interested Parties Jeffrey Cumo and Tiara Alston, the named plaintiffs in the action styled

Cumo v. AT&T Inc., No. 3:24-cv-00772 (N.D. Tex.), by and through counsel, amend Interested

Party Response of Plaintiffs Cumo and Alston in Support of Plaintiff Alec Petroski’s Motion for

Transfer and Centralization of Related Actions to the Norther District of Texas Pursuant to 28

U.S.C. § 1407 for Consolidated Pretrial Proceedings filed on April 25, 2024 (ECF No. 65).

Dated: May 1, 2024                                      /s/ Joseph M. Lyon
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            Case MDL No. 3114 Document 92 Filed 05/01/24 Page 2 of 13




                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION                                  MDL NO. 3114




                                      PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on May 1, 2024, I caused a

true and correct copy of the foregoing to be filed and served electronically with the Clerk of the

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                               N.D. Ga. Case No. 1:24-cv-01414
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N.D. Tex. Case No. 3:24-cv-00954-D                N.D. Tex. Case No. 3:24-cv-00803

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